Case 1:20-cv-00077-TH-KFG Document 84 Filed 10/27/20 Page 1 of 2 PageID #: 1270



                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                      BEAUMONT DIVISION


 RAMIRO CANALES                                    §

 VS.                                               §           CIVIL ACTION NO. 1:20-CV-77

 DEMETRIA EDISON, et al.,                          §

           MEMORANDUM OPINION AND ORDER OVERRULING OBJECTIONS
                AND ADOPTING REPORT AND RECOMMENDATION

        Plaintiff, Ramiro Canales, an inmate confined at the Connally Unit with the Texas
 Department of Criminal Justice, Correctional Institutions Division, proceeding pro se and in forma

 pauperis, filed this civil rights action pursuant to 42 U.S.C. § 1983 against defendant Michelle

 Spruell-Smith.

        The Court referred this matter to the Honorable Keith Giblin, United States Magistrate Judge,

 at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this Court. The

 Magistrate Judge recommends Plaintiff’s Motion for Default Judgment be denied (docket entry no.

 65).

        The Court has received and considered the Report and Recommendation of United States

 Magistrate Judge filed pursuant to such order, along with the records, and pleadings. Plaintiff filed

 objections to the Report and Recommendation of United States Magistrate Judge (docket entry no.

 69). This requires a de novo review of the objections in relation to the pleadings and applicable law.

 See FED. R. CIV. P. 72(b).

        After a careful review, the Court finds plaintiff’s objections lacking in merit. As outlined

 by the Magistrate Judge, defendant Spruell-Smith timely filed an answer. Failure to timely provide

 medical records and an authorization is not a basis to support a motion for default judgment.

 Regardless, plaintiff has reviewed the medical records and provided the authorization so this

 argument is moot.
Case 1:20-cv-00077-TH-KFG Document 84 Filed 10/27/20 Page 2 of 2 PageID #: 1271



                                            ORDER

        Accordingly, plaintiff’s objections are OVERRULED. The findings of fact and conclusions

 of law of the Magistrate Judge are correct, and the report of the Magistrate Judge is ADOPTED.

        SIGNED this the 27 day of October, 2020.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge




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